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                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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10      BRETT BROOKE SONIA,
                                                        CASE NO. 3:19-CV-5979-BHS-DWC
11                             Plaintiff,
                                                        REPORT AND RECOMMENDATION
12              v.
                                                        Noting Date: September 17, 2020
13      KARIE RAINER, et al.,

14                             Defendants.

15          The District Court referred this action, filed pursuant to 42 U.S.C. § 1983, to United

16 States Magistrate Judge David W. Christel. Before the Court is the parties’ Stipulation and

17 Proposed Order of Dismissal With Prejudice (“Stipulation). Dkt. 43.

18          Plaintiff initiated this action on October 12, 2019. Dkt. 1. On December 30, 2019, the

19 undersigned directed service of the Amended Complaint. Dkt. 12, 13. On February 26, 2020,

20 Defendants filed an Answer. Dkt. 25. On March 5, 2020, the undersigned entered a Pretrial

21 Scheduling Order. Dkt. 29. The parties subsequently filed the Stipulation on September 16, 2020

22 stating the parties fully settled and compromised the claims in this case. Dkt. 43.

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     REPORT AND RECOMMENDATION - 1
             Case 3:19-cv-05979-BHS Document 44 Filed 09/17/20 Page 2 of 2




 1         Pursuant to the Stipulation (Dkt. 43), the undersigned recommends the case be dismissed

 2 with prejudice. Given the parties’ stipulation, the Court recommends the District Judge

 3 immediately approve this Report and Recommendation.

 4         Dated this 17th day of September, 2020.



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                                                       David W. Christel
 7                                                     United States Magistrate Judge

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